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Plaintiff, ) cR. No. 05-20285-0 ` "`~ ;*""'”HES
)
vs. )
)
MAvaN wlLsoN, )
)
Defendant. )

ORDER

 

The United States having requested that the Court unseal the |ndictment, and
the Court being satisfied that sealing is no longer necessary, it is hereby

ORDERED that ali of the above document is UNSEALED.

Memphis, Eennessee UN|TED STA'i’ES MAG|STRATE JUDGE

APPROVE .

 

oseph C. Murphy
Assistant U.S. Attorney

This document entered on the docket eet in compliance
with ama 35 ami/or 32(b) FaCrP on “ 7

  
 

 

UNITED s`AsTE DSTRIC COURT - WESTER DISTRICT OF TENNESSEE

 
 

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This notice confirms a copy of the document docketed as number 7 in
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August 23, 2005 to the parties listed.

 

 

Joseph C Murphy

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

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Honorable Bernice Donald
US DISTRICT COURT

